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                 EXHIBIT “2”
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
    ------------------------------------------ X
    GOVERNMENT EMPLOYEES INSURANCE
    COMPANY, GEICO INDEMNITY COMPANY, GEICO
    GENERAL INSURANCE COMPANY and GEICO                                      Docket No.: 1:22-cv-02834-
    CASUALTY COMPANY,                                                        PKC-MMH

                                  Plaintiffs,

                   -against-

    ELENA BORISOVNA STYBEL, D.O., ELENA
    BORISOVNA STYBEL, M.D. (A Sole Proprietorship),
    EVERGREEN & REMEGONE LLC, YANA
    MIRONOVICH, NEW YORK BILLING AND
    PROCESSING CORP., ERIC MELADZE, BLUE TECH
    SUPPLIES INC., SUNSTONE SERVICES INC., and
    JOHN DOE DEFENDANTS “1” through “10”,

                          Defendants.
    ------------------------------------------X

                               DECLARATION OF KATHLEEN ASMUS

          Kathleen Asmus, hereby declares the truth of the following pursuant to 28 U.S.C. § 1746:

          1.      I am employed by Government Employees Insurance Company, GEICO Indemnity

   Company, GEICO General Insurance Company and GEICO Casualty Company (collectively,

   “GEICO”) as a Claims Manager.

          2.      I have personal knowledge of the facts set forth in this declaration and would testify

   as to them in a Court of law if called upon to do so.

          3.      I respectfully submit this declaration in further support of GEICO’s motion for the

   entry of a default judgment against Defendants Evergreen & Remegone LLC (“Evergreen”), New

   York Billing and Processing Corp. (“NY Billing”), Eric Meladze (“Meladze”), Blue Tech Supplies

   Inc. (“Blue Tech”), and Sunstone Services Inc. (“Sunstone”, and collectively, the “Defaulting

   Defendants”) pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure, together with such
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   other and further relief as the Court may deem just and proper. Specifically, GEICO seeks a default

   judgment on its Fourth Cause of Action against the Defaulting Defendants for common law fraud.

          4.      In connection with this motion, GEICO compiled a payment search using a tax

   identification number (“TIN Run”) setting forth the amount of payments that GEICO voluntarily

   made based on claims submitted or caused to be submitted by the Defendants through Defendant

   Elena Borisovna Stybel, M.D. (A Sole Proprietorship) Tax Identification Number 55-086xxxx (the

   “Stybel Practice”). The TIN Run draws payment information from GEICO’s earnings reporting

   system, from which IRS Forms 1099-MISC are generated for payees to report to the Internal

   Revenue Service. When a payment to a healthcare provider is authorized by GEICO, the

   designated information is inputted into GEICO’s systems, which in turn generates a check that is

   issued and catalogued according to the tax identification number of the payee. The information in

   GEICO’s earnings reporting system, from which the TIN Run is generated, is compiled and

   maintained in the ordinary course of GEICO’s business.

          5.      Attached as Exhibit “1” is the TIN Run for the Stybel Practice identifying each of

   the payments GEICO issued to the Stybel Practice in connection with the claims that were

   submitted or caused to be submitted to GEICO by the Defaulting Defendants, Defendant Elena

   Borisovna Stybel, D.O., and Defendant Yana Mironovich. These payments are based upon bills

   that GEICO voluntarily paid, not for payments made as a result of an arbitration or lawsuit that

   was filed seeking to collect from GEICO on a bill previously submitted by the Stybel Practice.

          6.      Based upon the TIN Run, GEICO voluntarily paid the Stybel Practice

   $1,462,138.66 in reliance on the Stybel Practice’s billing, for which it claims recovery in this

   action. That total amount paid can be broken down as follows:

                  (i)    GEICO voluntarily paid $219,291.69 between July 1, 2021 and September
                         3, 2021;
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                  (11)   GEICO voluntarily paid $1,220,048.05 between October 1, 2021 and
                         December 31, 2021;

                  (111) GEICO voluntarily paid $10,893.93 between January 1, 2022 and March
                        31, 2022; and


                  (iv) GEICO
                       2022.
                             voluntarily paid $11,904.99 between April 1, 2022 and June 30,


           I declare under penalty of perjury that the foregoing is true and correct. Executed at

     Syosset, New York on June 2, 2023.


                                                     kar Asims
                                                     Kathleen Asmus
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                 EXHIBIT “1”
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                 TIN       Check Number    Amount
0611363740000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228007605     $1,400.78
0294666270101037   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227828683     $2,101.17
0385483840101171   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227635439     $2,101.17
0511565970101057   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228511992     $2,099.94
0579689210101043   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228148043     $1,400.78
0661651470101019   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227860721     $2,101.17
0683621630000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228134450     $1,400.78
8700309210000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228159977     $2,101.17
0402893370101187   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228381353     $2,101.17
0681327700000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227361494     $2,101.17
8713533400000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227822086     $2,101.17
0484902370101023   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228137138     $2,101.17
0674981500000005   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228379975     $2,101.17
0618335120101028   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227822137     $2,101.17
8709252980000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228352875     $2,099.94
0606504570101016   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228472889     $2,101.17
8728471830000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228377506     $2,101.17
8712889710000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227366013     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227939608     $1,400.78
0409215540101083   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227644053     $2,101.17
8712143590000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227673456     $2,101.17
0506476110101062   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228571702     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228140253     $2,101.17
0192082710101103   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228007578     $2,101.17
0552392720101042   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227826459      $700.39
0527651190000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227729778     $2,101.17
0560289570101035   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228145916     $2,101.17
0337837030101136   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228570100     $2,101.17
8715642790000005   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228350722     $2,101.17
0628147860101017   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228380258     $2,101.17
0676790430000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227972887     $2,101.17
0677925880000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228379736     $2,099.94
8722948190000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228511990      $699.98
0570382700101029   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228505583     $2,099.94
8701559330000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227147166     $2,101.17
8717987980000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227727669     $2,101.17
0422958680101086   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228523420     $2,101.17
0283647140101040   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228347085     $2,101.17
0454828850101103   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227972905     $1,400.78
0260665750101054   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228386365     $2,099.94
8708835440000006   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228566490     $2,101.17
8708835440000006   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228384415     $2,101.17
0624783970000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228134459     $2,101.17
0634610290000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227734327     $2,101.17
8701968990000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227361279      $700.39
8714752340000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228515057     $2,099.94
0304627940101128   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228379944     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                 TIN       Check Number    Amount
0621588250101016   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227221940     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227918550     $2,101.17
0388696730101036   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227635480     $2,101.17
0285582200101074   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227733674     $1,400.78
0280197150101125   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227977148     $2,101.17
8725897510000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228386358     $2,101.17
8724792340000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228520835     $2,101.17
0511334330101029   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228352414     $2,101.17
8711138490000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227646402     $1,400.78
8705808810000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227977222     $2,101.17
0524107090000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227972895      $700.39
0462748000101137   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227364072     $2,101.17
8695247110000003   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227638223     $1,400.78
8720070350000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227678694     $2,101.17
0292788120101060   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227361780     $2,101.17
0603295440000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227828571     $2,101.17
8696036000000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228145999     $2,101.17
0540483360101022   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227823172     $2,101.17
0110468230101080   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227367924     $2,101.17
0125083880000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227635420     $2,101.17
0537681630101031   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227880961     $2,101.17
0594307820000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227360703      $700.39
0313160570101088   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228386347     $2,101.17
8723965400000004   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227976756     $2,101.17
8712561980000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227585664     $2,101.17
0287849260101043   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227363468     $2,101.17
0621495690000006   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227972398     $1,400.78
0601321140101019   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227360618     $2,101.17
0413684480101025   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227824889     $2,101.17
0531868800101015   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228134506     $2,101.17
0462748000101137   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227579852     $2,101.17
0311029410101089   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228598601     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227579831     $2,101.17
0370268350101032   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227977233     $2,101.17
0676790430000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227589280     $2,101.17
0438865100101037   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    233150652     $2,101.17
0502156150101065   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228140254     $2,101.17
0327983290101025   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227730737     $2,101.17
0327983290101025   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227089182     $2,101.17
0671552440000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227915776     $2,101.17
8731031890000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228379906     $2,101.17
0629574420101049   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227826405     $2,101.17
0594355680101030   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227976464      $700.39
0578101170000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    233322246      $699.98
8705386300000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228515041     $2,099.94
0683023030000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227972386     $2,101.17
0184082070101016   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228537546     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                 TIN       Check Number    Amount
0143387590101028   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228408422      $686.10
0468076900101127   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228347079     $2,101.17
8719429370000003   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    226821552     $1,400.78
0671351600000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228031223     $2,101.17
0200647320101055   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227155188     $1,400.78
0260665750101054   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228523500     $1,400.78
8727173950000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228145960     $2,101.17
0458983420101011   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227822102     $1,400.78
0137045340101073   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228347111     $1,400.78
0327983290101025   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227369264     $2,101.17
0108457980101382   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228379959     $2,101.17
0108457980101382   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228566416     $2,101.17
0192082710101103   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227736704     $1,400.78
0559742760000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227826423     $2,101.17
8731453510000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228002018     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227856287     $2,101.17
0485314380101048   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227971983     $1,400.78
0629558930000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228138003     $2,101.17
0501146620000004   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228096596     $2,099.94
0332008000101150   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228522728     $2,101.17
8710816000000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227972862     $2,101.17
0667417780000007   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227819885     $2,101.17
8698162340000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227792442     $1,400.78
0327983290101025   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    226755928     $2,101.17
0244500070101015   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228724401     $2,101.17
0646301310101033   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    230292731     $1,400.78
0572084210000004   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227732474     $2,101.17
0283647140101040   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227730725     $2,101.17
8708389150000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227727886     $2,101.17
0337837030101136   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228506678     $2,099.94
8721433150000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227824924     $2,101.17
0682121030000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227755776     $2,101.17
0559742760000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228009553     $2,101.17
0531868800101015   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228136984     $2,101.17
0319642890101013   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228537382     $2,101.17
0675645430000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    232422423     $1,400.78
0618335120101028   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227089227     $2,101.17
0483045080101040   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228663528     $2,101.17
0627556790101017   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227828849     $2,101.17
0477836340101056   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228537376     $2,101.17
0222409170101017   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    234522584     $2,099.94
0627556790101017   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228347309     $2,099.94
0383876010101049   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227587326      $700.39
0645101230000009   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228506688     $2,099.94
0635892470000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227519378      $700.39
8729911710000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228537389     $2,101.17
0309444030101109   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228793021     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                 TIN       Check Number    Amount
8713241140000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228009466     $2,101.17
0453919660000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228506733     $2,099.94
8717987980000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227828694     $2,101.17
0301273320101067   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227732564     $2,101.17
0299695700101098   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227729558      $700.39
0559789110101031   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227397947     $2,101.17
0132722480101063   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227727713     $2,101.17
0529199700101045   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227860734     $1,400.78
0676031260000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227738233     $2,101.17
0108457980101382   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228378543     $2,101.17
8715216910000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228379927     $2,101.17
8717512940000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228419846     $1,400.78
0417267340101069   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    226706876      $700.39
8731982170000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228860659     $2,101.17
8728471830000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228380224     $2,101.17
0485957400000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227586848     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227579387     $2,101.17
0677332440000004   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227919676     $1,400.78
0296709750101024   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227157422     $2,101.17
0681831610000003   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227792474     $2,101.17
8713241140000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228149464     $1,400.78
0458082440101112   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228382869      $700.39
0300693840101100   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228130137      $700.39
0532011840101047   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228378553      $700.39
0531223310101019   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227518343      $700.39
8719962970000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228003190     $2,101.17
8725897510000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228378546     $2,101.17
0618181390000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228003183     $2,101.17
0627045520000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227967506      $700.39
0108457980101382   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228352961     $2,101.17
0478570500101056   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228419586     $2,101.17
0464779100101030   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227586826     $1,400.78
8731031890000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228347062     $2,099.94
0327983290101025   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227361770     $2,101.17
0555672700101016   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228347361     $2,099.94
0449837900101020   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227734334     $2,101.17
0524107090000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227734090      $700.39
0541342000000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228443720     $2,101.17
0288436280101114   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228007992     $2,101.17
0139529120101053   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227518915     $2,101.17
0388696730101036   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227826775     $2,101.17
8719129670000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228151167     $2,101.17
8705808810000002   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227580415     $2,101.17
0462874960101031   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228386385      $699.98
0524107090000001   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    227638254      $700.39
0565757930101038   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228285118     $2,101.17
0515610720101084   ELENA BORISOVNA STYBEL MD      XX-XXXXXXX    228536067     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0683538830000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228337411     $2,101.17
8705386300000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228003630      $700.39
8727894230000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228231468      $493.25
0300693840101100   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972925      $700.39
8713533400000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228144437     $2,101.17
8720070350000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227364084     $2,101.17
0683578140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227259982     $2,101.17
0611643810101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228353010     $2,101.17
0597506420101030   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228514318     $1,399.96
0447755260101102   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228379756     $2,101.17
8719129670000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227792500     $2,101.17
0383120060101165   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228632805     $2,099.94
0180515070101027   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228377582     $2,099.94
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227580039     $2,101.17
0180515070101027   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227582198     $2,101.17
0573935380000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228384884     $2,101.17
0327983290101025   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227363425     $2,101.17
0671552440000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228352422     $2,101.17
0429685310101047   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227822109     $1,400.78
8712898640000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227944178     $1,582.43
8708843630000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227976739     $2,101.17
8709252980000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227828845     $2,101.17
8696036000000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227598164     $2,101.17
0531868800101015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228150173     $2,101.17
0292031990000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228506664      $699.98
8724792340000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134516     $2,101.17
0477836340101056   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635438     $1,400.78
0661651470101019   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227364033      $700.39
0642040150000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972867     $2,101.17
0371765260101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226856034     $2,101.17
0447410150101099   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227359037     $1,400.78
8670506840000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228137134     $1,400.78
0681831610000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228534433     $2,101.17
0522210590000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227599397     $1,400.78
8719072810000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228537399     $2,101.17
0652845290000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727956     $2,101.17
8729911710000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228533437     $2,101.17
0454847120101056   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227636948     $1,400.78
0126365050101168   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227580030     $1,400.78
0319533280101055   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229458501     $2,099.94
0273173160101173   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227586794      $700.39
8719129670000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228145396     $2,101.17
0383120060101165   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228146867     $2,101.17
0383120060101165   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227914646     $2,101.17
0601321140101019   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227361296     $2,101.17
0643291640101061   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972360     $2,101.17
0294666270101037   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227826936     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0611363740000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972377     $2,101.17
0548300970101014   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972860     $1,400.78
8696036000000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227822093     $2,101.17
0602318310101046   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227305392     $1,400.78
0313160570101088   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228381363     $2,101.17
8710990460000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228524486     $2,101.17
8712135440000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227728129     $2,101.17
0096171750104015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227405424     $2,101.17
0576223700101052   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227824812     $2,101.17
0595291660101012   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134418     $2,101.17
0683553420000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227974067     $2,101.17
0286946050000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228511988     $2,099.94
0682121030000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227949852     $2,101.17
0469960430101048   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972373     $2,101.17
0655792320000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734388      $700.39
0653307450000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860775     $2,101.17
0661651470101019   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227370835      $700.39
0579689210101043   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227915763     $2,101.17
0486702660000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228041906     $2,101.17
0534074590101011   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228520978     $2,099.94
0604124590000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227315567     $2,101.17
8710603690000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227361318     $2,101.17
0095597370101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228352425     $1,400.78
0635144470000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228002028      $700.39
0408499550101030   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228130676     $1,400.78
0616606730000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227581140     $1,400.78
0090080990101119   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227738260     $2,101.17
0610691070101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228512002     $2,099.94
0647548090000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227332971     $2,101.17
8695247110000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228136955     $2,101.17
0639115930000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227911080     $1,400.78
8712135440000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228524542     $2,099.94
0285582200101074   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228146243      $699.98
0354335890101037   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228379993     $2,101.17
0298851020101110   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972893     $1,400.78
0464779100101030   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227914900     $1,400.78
0682121030000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227888291     $2,101.17
0605073670101022   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227911057     $1,400.78
0552809350101017   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    230576259     $2,099.94
0175693670101142   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227761687     $1,400.78
0683538830000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227583643     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228386352     $2,101.17
0683578140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227599425     $2,101.17
8712135440000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227826819     $2,101.17
0499330620101014   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228512158     $2,099.94
0671552440000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227913943     $2,101.17
0477070560000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227971506     $1,400.78
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0683578140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227578646     $1,400.78
0642191680101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227729851      $700.39
0283647140101040   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227915481     $2,101.17
0330531110101058   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734101     $1,400.78
0092354550101079   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227826572     $2,101.17
0644137250000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227367915     $2,101.17
0108457980101382   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347067     $2,101.17
0309444030101109   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228795364     $2,101.17
0683780940000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227366026     $1,400.78
0425541820101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227358454     $2,101.17
8697501250000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227913985      $700.39
0095662760101308   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227833531     $2,101.17
0646330540000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227489360      $770.01
0408262070101055   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227364083     $2,101.17
0646330540000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227489360      $942.63
8713533400000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860729     $2,101.17
0646330540000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227489360     -$942.63
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228697013     $2,101.17
0565757930101038   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228037869     $2,101.17
0531868800101015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228514975     $2,099.94
8699379040000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227361216     $1,400.78
0683651280000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227976735     $2,101.17
0642040150000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972394     $2,101.17
0370268350101032   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972909     $2,101.17
0683458230000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227429271      $700.39
8714729650000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134442     $2,101.17
0644354290000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227299713     $2,101.17
0283647140101040   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228349636     $2,101.17
0171211160101041   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228099475     $2,101.17
8708835440000006   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228144434     $2,101.17
0321008280101030   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228527559     $2,099.94
0634432750000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227826953     $2,101.17
0288436280101114   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228384367     $1,400.78
0454828850101103   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227977224     $1,400.78
8699379040000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228512163     $1,399.96
0647548090000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227006713     $1,400.78
0634432750000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635382     $2,101.17
0625935280000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227964119     $2,101.17
0447755260101102   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227976748     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228379768     $2,099.94
0304627940101128   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228008018     $2,101.17
0128800390101088   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972018      $700.39
0309444030101109   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228795371     $2,101.17
0634432750000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227599420     $1,400.78
0683578140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228130180     $2,101.17
0676178250000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227309487     $2,101.17
0308300390101067   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227773255     $1,400.78
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0515610720101084   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227208626     $2,101.17
8670506840000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228151158     $1,400.78
8696036000000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228382874     $2,101.17
8718476470000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227599498     $2,101.17
0261344980101049   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227089185     $2,101.17
0287849260101043   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227361496     $2,101.17
0541342000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227596926     $2,101.17
8705978450000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227188308     $2,101.17
0594355680101030   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228524392      $699.98
0503534180101018   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228035925      $700.39
0609030300000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227701058     $2,101.17
8723869480000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227738830     $2,101.17
0060669050101064   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226821618      $700.39
8713241140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228003618     $2,101.17
0578101170000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    232863372      $700.39
8723965400000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347346     $2,099.94
0383120060101165   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227089171     $2,101.17
0642191680101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860804      $700.39
0383876010101049   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228506699      $699.98
0575451740101031   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227638200     $2,101.17
0570382700101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227915510     $2,101.17
0448588430101045   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228137140     $2,101.17
0519867500101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227638186     $2,101.17
0344446010101527   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227732543     $2,101.17
8713533400000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134456     $2,101.17
8712327640000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227400973     $2,101.17
8713533400000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228346568     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228377507     $2,101.17
0285582200101074   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227636624     $1,400.78
0137045340101073   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134524     $1,400.78
8728894530000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228007581     $2,101.17
0573817850101020   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227773249      $700.39
0661651470101019   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228352368      $699.98
0486113600101063   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227676993     $2,101.17
0486702660000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860725     $2,101.17
0540483360101022   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228386370      $699.98
0540483360101022   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727905     $1,400.78
0283647140101040   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228225865     $2,101.17
0638194490000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227976707     $2,101.17
0449837900101020   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227579690     $2,101.17
0674981500000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228596682     $2,099.94
0449837900101020   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228506729     $2,099.94
0531868800101015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228151132     $2,101.17
8728818760000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380216     $2,101.17
0661651470101019   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727970     $2,101.17
0353053140101259   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228130751     $2,101.17
0629558930000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228509338     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0299695700101098   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228156073      $700.39
0332008000101150   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972908     $2,101.17
0683578140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228009482     $1,400.78
0519867500101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227364099     $2,101.17
0541342000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227448471     $2,101.17
0283647140101040   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228003652     $2,101.17
0609672480101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227583623     $2,101.17
8697501250000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228009548      $700.39
8713533400000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347054     $2,101.17
8712561980000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228285927     $2,099.94
0595291660101012   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635430     $2,101.17
0501146620000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228187589     $2,101.17
0327983290101025   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727924     $2,101.17
0274141370101020   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227646427      $700.39
8729911710000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    233384787     $1,400.78
0644354290000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226709583     $2,101.17
0337837030101136   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380237     $2,101.17
0633822480000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972452     $1,400.78
0683538830000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227579656     $2,101.17
0647548090000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227330958     $2,101.17
0682121030000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228419044     $2,099.94
0462874960101031   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727884     $2,101.17
0609743340101015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227368905     $2,101.17
8696036000000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860763     $2,101.17
0674981500000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227794316     $2,101.17
0535966540101036   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227599382     $2,101.17
8719129670000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227977226     $2,101.17
0594307820000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228007983     $1,400.78
8721748980000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228007546     $2,101.17
0409215540101083   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226532504     $1,400.78
0595566610101019   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228136983     $2,101.17
0298851020101110   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228506689     $1,399.96
8713871000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134521     $2,101.17
0671552440000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228148132     $2,101.17
0390074020101048   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228512152     $2,099.94
0570382700101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228149833     $2,101.17
0553946700101014   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228478368      $700.39
0648255490101031   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228350748     $2,101.17
0377399430101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228002021     $2,101.17
0671552440000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228145969     $2,101.17
0313160570101088   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972888     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860889     $2,101.17
0447755260101102   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228386262     $2,101.17
0529766840101075   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228520962     $2,099.94
0561318520000007   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227580081     $2,101.17
0633822480000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227915491     $2,101.17
0670120730000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228533636     $1,400.78
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0804501260000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860755     $2,101.17
8728902320000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228328134     $2,101.17
8709476000000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727962     $2,101.17
8714752340000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228514766     $2,099.94
0678548810000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228377514     $2,101.17
0671552440000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228381355     $2,101.17
0525860360101012   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    234196222     $2,101.17
8711138490000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227223970     $1,400.78
0682121030000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    230005974     $2,101.17
0439727680101037   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229645296     $2,101.17
0684180730000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227825428      $700.39
8710990460000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227828843     $2,101.17
0271208890101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228006086     $2,101.17
0618335120101028   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227915749     $2,101.17
0593025790101036   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227599469     $2,101.17
0644354290000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226934942     $2,101.17
0402893370101187   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228386337     $2,101.17
8715216910000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228003650     $2,101.17
8717512940000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228480280     $1,400.78
0672489670000009   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228566499     $2,101.17
0674981500000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972233     $1,400.78
0645172660101015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229315397     $2,101.17
0634610290000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227458278     $2,101.17
0683578140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227259984     $1,400.78
0470279490101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227271534      $700.39
0541342000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228262687     $2,099.94
0370268350101032   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227596899     $2,101.17
0092354550101079   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228007997     $2,101.17
8724792340000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228566497     $2,101.17
8715642790000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228137305     $2,099.94
0523124710101012   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228037768      $700.39
0394782110101061   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228384911     $2,101.17
8710990460000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635411     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227934043     $1,400.78
0295449220101012   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227853402      $793.22
0468076900101127   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228353013     $2,099.94
8719072810000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228563365     $1,400.78
8713241140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228149738     $2,101.17
0537681630101031   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227041614     $2,101.17
8695247110000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227092647     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228130143     $2,101.17
0126365050101168   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227365999     $2,101.17
8695247110000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227752231      $700.39
0618181390000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227819862     $2,101.17
0440238160101124   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347296     $1,399.96
0311547240101063   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228376869      $700.39
0660724930000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134448     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0477836340101056   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227914840     $2,101.17
0660724930000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227599424     $2,101.17
0671552440000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227736690     $2,101.17
0309444030101109   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228795380     $2,101.17
0310647530101025   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227305361     $2,101.17
0383120060101165   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227361529     $2,101.17
0425541820101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227605446     $2,101.17
8719129670000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972894     $2,101.17
0576223700101052   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228151163     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227918359     $1,400.78
0573935380000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227914819      $700.39
8720719330000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228148128     $2,101.17
8698162340000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227640562     $2,101.17
0670430240000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227828935     $2,101.17
0548914210101015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860727      $700.39
0295438060101059   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228570063     $2,101.17
0596242730101024   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228470646     $2,101.17
0389413910101122   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227789448     $2,101.17
0640663000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228520974     $2,099.94
0676031260000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227579996     $2,101.17
0683023030000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227364052     $2,101.17
0609030300000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227749301     $2,101.17
0503534180101018   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228040720      $700.39
0603307790101030   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227580490     $1,400.78
8695247110000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227269529     $2,101.17
0570382700101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228523799     $2,099.94
8698348980000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227586827     $2,101.17
0609030300000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227701042     $2,101.17
0660724930000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727954     $2,101.17
8720068930000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226754971     $2,101.17
0294666270101037   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226855732     $2,101.17
0676178250000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227645381     $2,101.17
0541342000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227612812     $2,101.17
0634610290000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227580012     $2,101.17
0667424640000006   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228566926     $2,101.17
0448690310101092   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228598571     $2,101.17
0575451740101031   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227358464     $2,101.17
0337117810101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228149461     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228145946     $2,101.17
0117302280101099   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228382858     $2,101.17
0447755260101102   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228386379     $2,099.94
0552392720101042   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229945755     $1,400.78
0117302280101099   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347336     $2,099.94
0433366310101053   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228003187     $2,101.17
0678705700000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227089242     $2,101.17
8708835440000006   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380252     $2,101.17
0614654480000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227583675      $700.39
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0624949350000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227826556      $700.39
8711556610000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227089234     $2,101.17
0469960430101048   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228515044     $2,099.94
8713241140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228533395     $2,101.17
0682950180000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227397786     $1,400.78
0676031260000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227580425     $2,101.17
0645172660101015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229315493     $1,400.78
0304627940101128   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228570060     $2,101.17
0181818050101078   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227581617     $2,101.17
0180515070101027   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228129860     $2,101.17
0338474180101041   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227736546     $2,101.17
0311547240101063   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228145966      $700.39
0161413170101084   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227271542     $1,400.78
0635892470000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227518361      $700.39
0674116190000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860745     $2,101.17
0383876010101049   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228148857      $700.39
0596242730101024   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228505854     $2,101.17
0447755260101102   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134428     $2,101.17
0468076900101127   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227914620     $1,400.78
0561318520000007   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227736634     $2,101.17
8719129670000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228480978     $2,099.94
8721715390000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228523426     $2,101.17
0660574890000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227638189     $2,101.17
0621588250101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228146811     $2,101.17
0660116940000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228010630      $700.39
0655792320000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228002302      $700.39
0631594710000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227738846     $2,101.17
0383120060101165   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227359207     $2,101.17
0344446010101527   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226755930      $700.39
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228378533     $2,099.94
0621588250101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228505873     $2,101.17
0325479480101078   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347337     $2,099.94
8705808810000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227977778     $2,101.17
0596242730101024   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228262609     $2,101.17
0330531110101058   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227822054     $2,101.17
0676093190000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227824926     $2,101.17
0301630260000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227586828     $2,101.17
0301630260000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227732414     $2,101.17
8710816000000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227976823     $2,101.17
0541342000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227673548     $1,400.78
0286783350101100   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972025     $2,101.17
0634432750000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227828851     $2,101.17
0666144790000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227271554     $2,101.17
0604124590000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227736572     $2,101.17
0383876010101049   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228382861      $700.39
0579689210101043   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227646341      $700.39
8713533400000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228349627     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0671901710000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228888872     $2,099.94
0470279490101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228132494      $700.39
0676031260000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227729962     $2,101.17
0425766650000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227824859     $2,101.17
0683957570000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228377544     $2,101.17
8696186300000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347072     $2,099.94
0683578140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227578429     $1,400.78
0319533280101055   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229458504     $2,101.17
0319533280101055   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229458485     $1,400.78
0513542400000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380225     $2,101.17
0605193210000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228382888     $1,400.78
0469960430101048   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972869     $2,101.17
8715216910000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227588046     $2,101.17
8697261290000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228003199     $2,101.17
8705023060000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227822826     $1,400.78
0633822480000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228009944     $1,400.78
0683023030000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228137139     $2,101.17
8698348980000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228384893     $2,101.17
0319533280101055   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229458468     $1,400.78
8705808810000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228386210     $2,099.94
8711138490000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227305376     $1,400.78
0633822480000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227916259     $2,101.17
0678548810000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228379935     $1,400.78
8722948190000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734320      $700.39
0553946700101014   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134523      $700.39
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227939613     $1,400.78
0485957400000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227736640     $2,101.17
0422379220000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    230152615      $700.39
0561318520000007   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134440     $2,101.17
0671317060000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734076      $700.39
0660574890000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635429     $2,101.17
0311654470101022   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229128913     $2,101.17
0683621630000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228130138     $2,101.17
0292788120101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972859     $2,101.17
0191275000101030   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228506703     $2,099.94
0671317060000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228524497      $699.98
0486702660000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227364028     $2,101.17
0288436280101114   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227646442     $2,101.17
0184082070101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727894     $2,101.17
8705808810000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972931     $2,101.17
0583450570101033   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972722     $2,101.17
0583450570101033   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227948921     $2,101.17
0647548090000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635460     $2,101.17
0642191680101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227589431      $700.39
0611969010000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227220483     $1,400.78
0655792320000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227976708      $700.39
0596242730101024   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380524     $2,101.17
Case 1:22-cv-02834-PKC-MMH Document 59-3 Filed 06/05/23 Page 19 of 23 PageID #: 1653
                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0535279620101027   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228377503     $2,101.17
0519867500101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227580509     $2,101.17
0532011840101047   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227368654     $2,101.17
0405916890101066   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227583406     $2,101.17
0405916890101066   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734297     $2,101.17
0479283450101022   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227377654      $700.39
0477748760101049   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227914792     $1,400.78
8719429370000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226753811     $1,400.78
8699379040000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227001515     $1,400.78
0479283450101022   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227188132     $1,400.78
0681070270000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227784953     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228386343     $2,099.94
0531868800101015   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228514748     $2,099.94
0570382700101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228507338     $2,099.94
8723519830000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228230541     $2,101.17
0658750600000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635437     $2,101.17
0681831610000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227599438     $2,101.17
0647548090000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380263     $2,101.17
0576223700101052   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635421     $2,101.17
0095597370101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    231666258     $1,400.78
0603295440000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228290899     $1,399.96
8699335900000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227361525     $2,101.17
0110047890101248   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227261132     $2,101.17
0595566610101019   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727988     $2,101.17
0595987880000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228505369     $2,099.94
8700220480000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228285211     $2,099.94
0470279490101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228132462      $700.39
0095662760101308   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227644065     $2,101.17
0171211160101041   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227732438     $2,101.17
0260665750101054   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860868     $1,400.78
0442127600101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226755205     $2,101.17
0499330620101014   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227829181     $2,101.17
0683776890000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228386228     $2,099.94
8718476470000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228003106     $2,101.17
0646301310101033   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972918     $1,400.78
0456231380101017   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734350      $700.39
0670737470000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228533954     $2,101.17
0631594710000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227596888     $2,101.17
0523124710101012   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227581101     $2,101.17
0578353530101036   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228140263     $2,101.17
0676176490000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972872     $1,400.78
0450380810101057   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227792461     $2,101.17
8727894230000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227912810     $2,101.17
0682221240000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227364109     $2,101.17
0441109500101050   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227042370     $2,101.17
8701319400000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228509083      $699.98
0383120060101165   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734332     $2,101.17
Case 1:22-cv-02834-PKC-MMH Document 59-3 Filed 06/05/23 Page 20 of 23 PageID #: 1654
                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0666144790000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227223966     $2,101.17
0271208890101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380246     $2,101.17
0561318520000007   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228534646     $2,101.17
0399085150101039   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227001490     $1,400.78
8718476470000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228537518     $2,101.17
0658750600000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227370833     $2,101.17
0681327700000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227368272     $2,101.17
8705386300000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228003085     $1,400.78
0394782110101061   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228145998     $1,400.78
0327983290101025   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227252959     $2,101.17
0280197150101125   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229189194     $2,101.17
0605193210000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227825123     $1,400.78
0665703000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380243      $700.39
0288436280101114   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228378568     $1,400.78
0496469960000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228533722     $2,101.17
0564441220101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228506701     $2,101.17
0647548090000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228352457     $2,101.17
8717880490000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229797041     $2,101.17
8712143590000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228102930     $2,099.94
0580546030101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228633491     $1,399.96
0442127600101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227697349     $2,101.17
0580546030101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228633570     $2,101.17
0304627940101128   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860712     $2,101.17
8701559330000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227190587     $2,101.17
0462537020000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227825120     $2,101.17
0644354290000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227170041     $2,101.17
0570382700101029   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228133063     $2,101.17
0313160570101088   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228378524     $2,101.17
0482074350101049   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228505839     $2,101.17
8705437060000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228473875     $2,099.94
0541342000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227520530     $2,101.17
8713533400000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227825434     $2,101.17
8721748980000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347053     $2,101.17
8695247110000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227754964     $1,400.78
0617123690101058   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227360212     $2,101.17
0108457980101382   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228536131     $2,101.17
0660574890000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227361518     $2,101.17
0664227360000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228007596     $2,101.17
0496253310101062   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227300944     $2,101.17
0671552440000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228144611     $2,101.17
0425541820101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228352362     $2,099.94
0283647140101040   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727950     $2,101.17
0319642890101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227773256     $2,101.17
8701319400000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228414068      $700.39
0661651470101019   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227503008      $700.39
0338474180101041   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227644130     $2,101.17
0486702660000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734078     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0405916890101066   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228506730     $2,099.94
0327983290101025   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227005213     $2,101.17
0683587360000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228662232     $2,101.17
0511565970101057   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227977245     $2,101.17
0511565970101057   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972229     $1,400.78
0804501260000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228419476     $2,101.17
0660724930000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227365974     $2,101.17
0180515070101027   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227596883     $2,101.17
0344446010101527   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226755173      $700.39
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228155991     $2,101.17
8713533400000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227820316     $2,101.17
0408262070101055   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227089179     $2,101.17
0300693840101100   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134460      $700.39
0582304430000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228346998     $2,099.94
8720070350000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227271495     $2,101.17
8728902320000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228103866     $2,101.17
0563355290101013   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347055     $2,101.17
0576209180101018   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227637541     $2,101.17
0309444030101109   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228795358     $2,101.17
8709252980000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228002012     $2,101.17
8728894530000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972226     $2,101.17
0541342000000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227679790     $1,400.78
0541237240101020   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228352432     $2,101.17
0582304430000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134468     $2,101.17
0596253790000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380249     $2,101.17
8723519830000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228284140     $2,101.17
0327983290101025   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226753814     $2,101.17
0611643810101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228002013     $1,400.78
0469960430101048   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228565449     $2,099.94
8697261290000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228130747     $2,101.17
0596242730101024   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228262116     $2,101.17
0559742760000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228100138     $2,101.17
0578101170000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    232864241     $1,400.78
8700309210000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227824194     $2,101.17
8668276260000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228289358       $3.77
0559789110101031   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227368956     $2,101.17
0575169860000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227729749     $2,101.17
8722948190000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228007813      $700.39
0684180730000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228523217     $2,101.17
8713241140000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228536135     $2,101.17
0676176490000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972367     $2,101.17
0553946700101014   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227736683      $700.39
0646278690101012   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228537372     $2,101.17
0684180730000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228523175     $2,101.17
0643291640101061   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228506697     $2,099.94
0678548810000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227948904     $1,400.78
0594355680101030   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228380202      $700.39
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
8723519830000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228226101     $2,101.17
0575169860000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227915772     $2,101.17
0676178250000003   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228566456     $2,101.17
0292788120101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227769144     $2,101.17
0327983290101025   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227359289     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228414233     $2,101.17
0477836340101056   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227221960      $700.39
0573817850101020   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227824884     $2,101.17
0604124590000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227860740     $2,101.17
0542480090000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228512004      $699.98
0506476110101062   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228725012     $2,801.56
0594307820000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227829193      $700.39
0575451740101031   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227727999     $2,101.17
0399712970101103   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227398040     $2,101.17
0399712970101103   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226856127     $2,101.17
0313160570101088   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228007595     $2,101.17
8720719330000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227792418     $2,101.17
0537123000101042   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227794852      $700.39
0092354550101079   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734118     $2,801.56
0676031260000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227734346     $2,101.17
0502156150101065   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228532225     $2,101.17
0462537020000004   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227452760     $2,101.17
0646948500101021   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    229231430     $2,101.17
0602318310101046   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    226998879     $1,400.78
0224400220101089   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228145840     $2,101.17
0640440010000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227825081     $2,101.17
0497432900101046   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    231019737     $1,790.09
0555672700101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227825134     $2,101.17
0280197150101125   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227364777     $2,101.17
0292788120101060   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228347278     $2,099.94
0573935380000005   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227580418      $700.39
0512384890101083   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972898     $1,400.78
0289059870101085   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228514767     $2,801.56
8723519830000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228230534     $2,101.17
0676031260000002   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227578636     $2,101.17
0519867500101016   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228134465     $2,101.17
8697501250000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228520989      $699.98
0643167750101020   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228289182      $699.98
0683235340000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228512148     $2,099.94
0645966530101035   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227736712     $2,101.17
0285602170101128   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228520898      $699.98
8724792340000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228537385     $2,101.17
8723519830000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228150254     $2,101.17
0300693840101100   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228149703      $700.39
0389413910101122   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    228522346     $2,101.17
0671351600000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227994537     $2,101.17
8717987980000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227635415     $2,101.17
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                         TIN Run - Elena Borisovna Stybel MD

  Claim Number              Provider                  TIN       Check Number    Amount
0286946050000001   ELENA BORISOVNA STYBEL MD       XX-XXXXXXX    227972403     $1,400.78
